     Case 2:87-cr-00422-JAK         Document 3257 Filed 10/04/90                     Page 1 of 4 Page ID
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                                             #:26939     {




 1     ~,OURDES G . BA I RD                                            ~,,.__...~, .,~      ....._.~ ti~ .,.~.._ _._ .. _ . . ..
       Uni.tecl States Attorney
 2     ROB~R~L. HROSIQ                                             ~                                     •${~:
       ~,ss~stant United States Attorneys
 3     k;~V I N P. CONNOLLY                                   ~„~ ;                      `.", °~>.         r ^ <..~;
                                                           ,~'
                                          =' ~ ~ ,
       Yal z LIB I1~M H . KENNY
 4     Narcotic and Dangerous Dz~ug'Sec~~on.
                Criminal Diva.sions
 S               14Q0 New York Avenue, N.W                     ~               ~:s's.~P~~(.€~.~. : .~'       ,, i:ac.~``°=
                R c~ o rn 4128                                            ~~ ~'~'r~,~ [~ts'~.. ~'~'           ~.~~
                                                  _.._ _   _                                                         ~~s~~.:
 6              W ~~hzngton~ ~.C. 20530
                TPl_E'}JI10I1~: (2O2) J14-0923                                  ~"

       ~ttofneys €or_ Plaintiff
 8     United States of America

 9                                 U~1IT'El~ ST~T~S DTSTP,ICT COfJRT

10                            FOR THE CEN~'RAT~ DTSTR?CT Off' CALIFORNIA

11     UNI~'ED STATES OF AMERICA,                     NO- CR 87-427(F1-ER

12                  Plaa.ntiff,                                    ORDER RE MO'~t'ION
                                                     ~'JR RETURN OF TKII~~L                ,,,f"~'~
l3                  v.                               E.-1~~T B ITS                     fir'
                                                                                    ~~         1~
14     C~~OL-~UINTERO, pt. ~1
                                                                                                4
                                                                                              ~.~                ~~ 1
1S                  Defendants

16
17          This matter appearing before the Court of Government's Motioz~ j

18     For Returzz of Trial Exhik~its.

19          It 7s Hereby, Qrdered that t~Q Clerk. of Cov.rt shall return to

20     the Custody o~ the Drug ~n~orcem~~` Admin~_st.ration Goverxament

21     E~hik~i+'s 20-30,65,168A,168B, anal J_59, entered. into evidence in t}~.e'

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23     i
24     i

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27     KPN:6537D
     Case 2:87-cr-00422-JAK     Document 3257 Filed 10/04/90    Page 2 of 4 Page ID
                                         #:26940
                       r




  1    prosecution. o£ U~i.ted States v. Cercw C?~.~.i?~t~ro, CR 87-4?_2~F)ER.

 2          DATED:     September 27, 1990.

 3
                                         Uni.te~' •==a~~s D   ~rict Judge
 4
 S     Presented by:

 6
 7     ~ v z r~ ~. CONNQLLY
       Trial. Attorney
 8     Department of Justice

 9
                 ~
                 '
~o     wz z.    x. °       ~T
       Trial Attorney
11     Department of Justice

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Case 2:87-cr-00422-JAK        Document 3257 Filed 10/04/90        Page 3 of 4 Page ID
                                       #:26941



           1                          CERTIFICATE OF
                                                         SERVICE HY MAIL
           2       I,         TERRI RDBAI.CABA

                  That I am a ci                                    ~ declara:
        3                            tizen of the un
                                                         ited States an
       4 employed in Lc~ 1►ngel                                           d resident or
                                         es County, Ca
                                                           lifornia; tha
       5 address is Office of Un                                          t my business
                                            ited States 1►
                                                              ttorney, Unite
       6 Courthause, 312 North                                               d States
                                         Spring Street,
                                                             Los Angeles,
       7 9 0D12; that I am over                                             California
                                         the aqe of eig
                                                        hteen years      , and am not
       8 party to the above-e                                                           a
                                      ntitled action;
       9         That I am employ
                                      ed by the Unite
                                            d States ~►tto
      io Central District of California                       raey for the
                                        who is n mem
                                                      ber of the Bar
    11 United Stakes District                                            of the
                               Court for the
                                              Central Distr
    12 [alifornia, at whose d                                   ict of
                              irection the se
                                               rvice by pail
   13 this Certificate Was m                                     described in
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   14 deposited in the Unite                             , 1990
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  1S Courthouse a~ 311 !fo                                      States
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  16 the above-entitled ac                                  es, California
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  17 postage, a copy Of                                          e requisite
                          PROP          OSED ORDER RE
                                                        MOTION FOR RE
  18                                                                 TURN OF TRIA
                                                                                 L EXHIBITS

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?.S     liv e ry  service by un                                               is a
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26        This Certifica
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                                            on Septeaber 27, 1990
n at Los Angeles, Califo
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28        2  c e rt ffy under pen
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    and zorrect.                                       that the foreg
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     OSA-12c-240                                             ~ ~ /       ~
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                                  #:26942




               UNITED STATES v. RAFAEL CARD-QUINTERO, et at.
                            No. CR 87-422(F)-ER

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   Los Angeles, California 90064


   MARY KELLY
   827 Mor_aga Drive
   Bel Air, California 90049


   LePARC HOTEL
   733 N. West Knoll Drive
   west Hollywood, Califo rnia 90069
   Attu: MARTIN STOLAR


   MICHAEL MEZA
   17050 6ushard Street
   Suite 200
   Fountain Valley, California 92708
